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11   UNITED STATES OF AMERICA, and
     TRACY L. WILKISON and KRISTI KOONS JOHNSON
12   IN THEIR OFFICIAL CAPACITY ONLY
13                           UNITED STATES DISTRICT COURT
14                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                WESTERN DIVISION
16   PAUL SNITKO, JENNIFER SNITKO,          Case No. 2:21-cv-04405-RGK-MAR
     JOSEPH RUIZ, TYLER GOTHIER,
17   JENI VERDON-PEARSONS,                  DEFENDANTS’ OBJECTIONS TO
     MICHAEL STORC and TRAVIS MAY,          EVIDENCE OFFERED BY
18                                          PLAINTIFFS IN THEIR SECTION OF
               Plaintiffs,                  THE PARTIES’ JOINT SEPARATE
19                                          STATEMENT OF CONTESTED AND
                      v.                    UNCONTESTED FACTS;
20                                          SUPPLEMENTAL DECLARATION OF
     UNITED STATES OF AMERICA, ET           VICTOR A. RODGERS
21   AL.,
22             Defendants.
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 1          Defendants United States of America, and Tracy L. Wilkison and Kristi Koons
 2   Johnson in their official capacity only (collectively, “the government”) hereby submit
 3   their objections to evidence offered by Plaintiffs in support of the Facts that Plaintiffs
 4   have submitted as part of the parties’ Joint Separate Statement of Contested and
 5   Uncontested Facts filed August 9, 2022 (the “Joint Statement”). ECF No. 124.
 6                                  GENERAL OBJECTIONS
 7          The government objects to Plaintiffs’ Facts in their entirety. Parties are limited to
 8   20 page briefs. In accordance therewith, the government filed a 20-page brief including
 9   each of the 60 facts contained in the government’s section of the Joint Statement. ECF
10   123 (government’s opposition brief) at 2:21-11:1 and ECF 124 (Joint Statement) at
11   pages 49-74. By contrast, Plaintiffs have submitted a total of 178 Facts, most of which
12   are not even mentioned in Plaintiffs’ 20-page opening brief [ECF 124 (Joint Statement)
13   at pages 1-48],1 resulting in Plaintiffs’ submission of a brief far exceeding the 20 page
14   limitation. As a result, Plaintiffs’ 178 Facts should not be considered.
15          The government further objects to Plaintiffs’ responses to the government’s 60
16   facts. In responding, Plaintiffs have not limited to statements that a given Fact is
17   “contested” or “uncontested.” Instead, Plaintiffs add extensive arguments, even as to
18   those facts they agree are uncontested, and thus add to their failure to follow the 20-page
19   restriction. Plaintiffs have improperly added argument to 33 out of the government’s 60
20   Facts. 2
21   ///
22   ///
23   ///
24
25          1
              . The following Fact Numbers in the Joint Statement, and the deposition
     testimony cited in support thereof, are not cited or referenced in Plaintiffs’ opening brief:
26   Fact Nos. 1, 3, 4, 6, 7, 11, 13, 14, 20, 26, 36, 69, 71-74, 76. 102, 111, 120, 122, 123, 144,
     146, 149, 151, 152, 154-157, 169, 171, 172, 176 and 177. In addition, a large quantity
27   of Plaintiffs’ Facts are based on declarations that are arguments, not facts.
28
            2
               See Plaintiffs’ Response and Supporting Evidence to Government Fact Nos. 2-4,
     7-10, 12-19, 22, 23, 25, 26, 28, 32-34, 41, 43, 44, 49, 51 and 53-60.
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 1                         SPECIFIC OBJECTIONS TO EVIDENCE
 2         The government’s Specific Objections to the evidence offered to support
 3   Plaintiffs’ individual 178 facts are set forth below.
 4         1.     Plaintiffs’ Fact No. 11, which provides “Inspector Versoza testified that the
 5   FBI was put in charge of the USPV investigation.”
 6         Plaintiffs’ Supporting Evidence Cited For Fact: Versoza Dep., ECF 112-20,
 7   Frommer Decl. Ex. L at 1120:3-9, which provides as follows:
 8                Q.     Oh, okay. So you're saying the initial -- the
 9          initial affidavit by Lynne Zellhart, essentially
10          accusing U.S. Private Vaults, the company, of multiple
11          criminal acts, that that was because she was the one who
12          was writing it, that she functionally was -- or the FBI
13          was functionally running the investigation.
14                A.     Correct.
15         Government’s Objections: Plaintiffs’ Fact mischaracterizes the testimony.
16   Inspector Versoza did not testify that “the FBI was put in charge of the USPV
17   investigation” as this Fact states. The government further objects that the testimony
18   lacks foundation and is without personal knowledge. Fed. R. Evid. 602.
19         2.     Plaintiffs’ Fact No. 13, which provides “The decision to place the FBI in
20   charge was made in consultation with the U.S. Attorney’s Office, FBI management, and
21   DEA management.
22         Plaintiffs’ Supporting Evidence Cited For Fact: Versoza Dep., ECF 112-20, Ex. L
23   at 1118:5–8, 1119:8–1120:1, which provides as follows:
24                Q.     And do you know who decided to shift who was
25          spearheading the investigation from DEA to the FBI?
26                A.     This is where conversations with the U.S.
27          Attorney's Office took place..
28

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 1                MR. FROMMER: I am not asking about any
 2         specific conversation. I don't need to know the content
 3          of any specific conversation. I'm asking about an
 4          operative decision, which is: Before the DEA was
 5          running the Vaults' investigation, and afterwards it was
 6          FBI, and I'm just asking who made that call.
 7                THE WITNESS: There were multiple
 8          conversations, many I was not privy to, that happened
 9          with management between the FBI, the DEA, and the U.S.
10          Attorney's Office. I don't know how it proceeded, but
11          at some point it was determined FBI would be better
12          suited to spearhead the investigation.
13         Government’s Objections: The evidence lacks foundation and is without personal
14   knowledge to support this Fact. Fed. R. Evid. 602. The witness specifically stated there
15   were conversations to which he “was not privy to[,]” that he did not “know how it [i.e.,
16   the FBI being placed in charge] proceeded,” but that at some point “it was determined
17   FBI would be better suited to spearhead the investigation.” In addition, the evidence is
18   not relevant, as the testimony has no tendency in reason to prove or disprove any
19   disputed fact of consequence in this case, because who made the decision that FBI would
20   spearhead the criminal investigation of USPV has no bearing on any issue in this case.
21   Fed. R. Evid. 401 and 402.
22         3.     Plaintiffs’ Fact No. 15, which provides that “Supervisory Special Agent
23   Jessie Murray, testified that FBI Special Agent in Charge Matthew Moon asked Murray
24   in the summer of 2020 whether her asset forfeiture unit could handle the seizure and
25   administrative forfeiture of hundreds of box renters’ property.”
26         Plaintiffs’ Supporting Evidence Cited For Fact: Murray 30(b)(6) Dep., ECF 112-
27   23, Ex. O at 1525:15-1526:5, 1526:9–1527:3, 1527:10–18. Plaintiffs’ citation to
28   transcript pages omits pertinent testimony occurring prior to the cited pages concerning

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 1   the date of her discussion with FBI Special Agent in Charge Matthew Moon. Agent
 2   Murray first testified as follows:
 3                       When did you first hear about U.S. Private Vaults?
 4                       A.     I don't remember what month and I believe
 5                that it was 2020.
 6                       Q.     So you -- could it have been, perhaps, in,
 7                like, the summer of 2020, sometime around then?
 8                       A.     The summer sounds about right.
 9   (Emphasis added). ECF 112-23, Frommer Decl. Ex. O at 1523:25-1524:6; Supplemental
10   Rodgers Decl. Ex. C (Murray 30(b)(6) Depo) at 56:25-57:6. Then, in Plaintiffs’ cited
11   portion of the transcript, Agent Murray testified as follows: The cited testimony for
12   Plaintiffs’ Fact then provides at 1525:15-1526:5 and 1526:9-1227:3 as follows:
13                Q.     So what exactly was he advising you of on
14          that call?
15                A.     He wasn't advising me of anything. He was
16          telling me the facts of the investigation and asking
17          me if the Los Angeles asset forfeiture unit was
18          capable of handling a possible large-scale seizure.
19                Q.     Oh, okay. So in summer of 2020, Matt Moon
20          called you, talked to you about the
21          U.S. Private Vaults investigation, and asked whether
22          the FBI LA field office had the capacity to handle
23          civil forfeiture regarding U.S. Private Vaults; is
24         that accurate?
25          MR. RODGERS: Objection. Slight
26          mischaracterization with respect to the date.
27                A.     During that phone call, that's what we
28          discussed.

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 1                *                   *                    *
 2                Q.     So he asked, like, does the LA field
 3          office have capacity to handle civil forfeiture with
 4          regards to the nest of safe-deposit boxes? Is that
 5          accurate?
 6                A.     Yes.
 7                 Q.    And what did you tell him?
 8                A.     I told him yes.
 9                Q.     And why did you think that the LA field
10          office had capacity to handle processing civil
11          forfeiture proceedings for the hundreds of safe-
12          deposit boxes at U.S. Private Vaults?
13                MR. RODGERS: Objection, slight
14          mischaracterization of her testimony.
15          Go ahead and answer.
16                A.     We were capable of handling a large-scale
17          seizure because we have an established asset
18          forfeiture unit, and have had that unit for many,
19         many years, and we have a large complement of asset
20          forfeiture employees capable of handling and
21          processing this type of large-scale seizure.
22   Murray 30(b)(6) Dep., ECF 112-23, Ex. O at 1525:15-1526:5, 1526:9–1527:3.
23         Government’s Objections: Plaintiffs’ Fact mischaracterizes the testimony. First,
24   Agent Murray testified, as to when she spoke with Special Agent in Charge Moon, that
25   the summer of 2020 “sounds about right[.]” She did not definitively say the
26   conversation occurred in the summer of 2020. Second, Agent Murray did not state that
27   the FBI Asset Forfeiture unit had the capacity to handle “the hundreds of safe-deposit
28   boxes at U.S. Private Vaults.” That statement is part of the question; it is not part of

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 1   Agent Murray’s answer to the question, nor did Agent Murray adopt the accuracy of the
 2   question in her answer.
 3         4.     Plaintiffs’ Fact No. 18, which provides that “[t]he government also began to
 4   discuss the potential use of civil forfeiture against safe-deposit box renters’ property in
 5   the summer of 2020.”
 6         Plaintiffs’ Supporting Evidence Cited For Fact: Zellhart Dep., ECF 112-19, Ex. K
 7   at 985:14-16); see also Zellhart 30(b)(6) Dep., ECF 112-21, Ex. M at 1239:15-18. As to
 8   the see also citation, the transcript provides as follows:
 9                       Q.     So I believe right before the break you testified
10                that the United States had been considering -- began
11                considering a potential use of civil forfeiture as to
12                some or all of the safe deposit boxes in -- sometime in
13                the late summer of 2020. Is that accurate?
14                       A.     I think I -- I think I said that we discussed,
15                you know, seizing the nest of the boxes and doing an
16                 inventory on them in summer of 2020. And then
17                 discussions about asset forfeiture took place a little
18                 bit later in the summer or fall.
19                       Q.     Okay. Yeah, that's -- sorry. I should have been
20                 more specific.
21                        In the late summer or fall of 2020 is when the
22                 United States began considering the potential use of
23                 civil forfeiture as to the nest of safe deposit boxes.
24                       A.     I think that's right, yes.
25   In response to the very next question, which Plaintiffs’ omit from their citation, Agent
26   Zellhart testified that the discussions about asset forfeiture occurred in September or
27   October:
28   ///

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 1                Q.     Okay. And can you describe what steps, once that decision
 2         had been made in late fall - - or late summer, fall of 2020, to potentially use
 3         civil forfeiture . . . [c]an you describe what steps the United States took . . .?
 4         [objection and colloquy between counsel omitted]
 5                A.     So at that point in the - - better recollection, I do think it was
 6         fall. It might even have been September, October. I’m kind of vaguely
 7         thinking October.
 8   Zellhart 30(b)(6) Dep., ECF 112-21. Frommer Decl. Ex. M. at 1239:19-1240:8;
 9   Supplemental Rodgers Decl. Ex. B (Zellhart 30(b)(6)) at 50:15-51:8.
10         Government’s Objections: Plaintiffs’ Fact mischaracterizes the testimony. Agent
11   Zellhart first testified agents began considering the use of asset forfeiture a little bit later
12   “in the late summer or fall of 2020” and then in response to the very next question posed
13   to her stated “I do think it was fall. It might have been September, October.” She never
14   stated, as this Fact states, that these discussions occurred “in the summer of 2020.” See
15   also Murray 30(b)(6) Dep. ECF 112-23, Frommer Decl. Ex. O at 1533:22-1534:9.
16         5.     Plaintiffs’ Fact No. 19, which provides that “[t]he FBI’s lead agent for the
17   USPV investigation, Special Agent Zellhart, understood that FBI policy requires special
18   agents to use the least intrusive investigative technique that is capable of achieving the
19   FBI’s objective.”
20         Plaintiffs’ Supporting Evidence Cited For Fact: Zellhart Dep., ECF 112-19, Ex. K
21   at 868:7–14, 870:2–871:2. Again, Plaintiffs’ omit testimony that easily disproves their
22   Fact. First, Agent Zellhart’s testimony was about Exhibit 5 to her deposition, which was
23   a 700 page document:
24         BY MR. FROMMER:
25                Q.     Okay. I have just introduced Exhibit 5.
26         Zellhart Exhibit 5. So -- tell me when you have a
27         minute to look.
28                       MR. RODGERS: All right.

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 1          BY MR. FROMMER:
 2                 Q.      Now, I will purport that this is a copy, part one
 3          of two, of the 2013 version of the DIOG that I acquired
 4          from the FBI Vault website. If you could take a minute
 5          or two to go through, and let me know whether you agree
 6          that that's what I -- that what I purport it to be it
 7          is.
 8                 MR. RODGERS: Well, this is a two hundred --
 9          this document appears to be two -- hundreds and hundreds
10          and hundreds of pages. So -- it's 700 pages. It's not
11          possible for us to be able to say that it was downloaded
12          from the website. I mean, you can represent whatever
13          you want to represent about it, but we can't answer that
14          question.
15   Zellhart Dep., ECF 112-19, Frommer Decl. Ex. K at 867:1-20; Suppl. Rodgers
16   Decl. (Zellhart Depo.) Ex A at 39:1-20. Plaintiffs then cite two parts of the
17   transcript, consisting of the first part:
18                 All right. Let me turn to page -- well, before I
19          ask, are you aware of any FBI policy that requires --
20          requires agents, special agents, to use the least
21          intrusive investigative technique that is capable of
22          achieving the FBI's objective?
23                 MR. RODGERS: Objection, overbroad, lacks
24          foundation. If there's -- lacks foundation, calls for
25          speculation.
26                 THE WITNESS: Yes.
27   Zellhart Dep., ECF 112-19, Frommer Decl. Ex. K at 868:7–14; Suppl. Rodgers
28   Decl. (Zellhart Depo.) Ex A at 40:6-14. The second part of the citation, with the

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 1   government adding the italicized items below for context which Plaintiffs’ omit,
 2   provides as follows:
 3         MR. FROMMER:
 4                Q.     Okay. If you could look at 4.1.1, sub E). So
 5         that's the -- about two-thirds of the way down the page,
 6         and it reads: Employ the least intrusive. Could you
 7         read that -- that subpart E) to us, please?
 8                A.     Sure.
 9         Assuming a lawful intelligence or evidence
10         collection objective, i.e., an authorized purpose,
11         strongly consider the method, technique, employed to
12         achieve that objective that is the least intrusive
13         available, particularly if there's a potential to
14          interfere with protected speech and association, damage
15          someone's reputation, intrude on privacy, or interfere
16          with the sovereignty of foreign government, while still
17          being operationally sound and effective.
18                Q.     Okay. So is it fair to say that the FBI policy
19          is that to the extent an investigative technique could
20          intrude on privacy, that FBI special agents should
21          consider a technique, the least -- the -- should strive
22          to employ the least intrusive technique available that
23          would meet the FBI's goals?
24                MR. RODGERS: Objection, calls for
25          speculation, lacks foundation, calls for a legal
26          conclusion, assumes facts not in evidence.
27                THE WITNESS: And to answer that, I would
28          just re-read that paragraph. So your question was what

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 1           is FBI policy, and unless this has been superseded, FBI
 2          policy in regards to that is sitting there in sub
 3          paragraph E).
 4   Zellhart Dep., ECF 112-19, Frommer Decl. Ex. K at 869:24–871:2; Supplemental
 5   Rodgers Decl. (Zellhart Depo.) Ex. A at 41:24-43:2. In response to the next question,
 6   which Plaintiffs’ omit, Agent Zellhart testified as follows:
 7          BY MR. FROMMER:
 8                 Q.     Okay.
 9                 A.     That is my understanding of the policy, and I've
10          been trained on it.
11                 Q.     Okay. And you -- and -- so you've been trained
12          that when conducting -- the use of any technique should
13          be minimally invasive when there are speech or privacy
14           concerns; is -- is that fair to say?
15                  [Objection omitted]
16                 THE WITNESS: Right. And, again, I would
17           just -- I would just point to paragraph E). What --
18           what it says in paragraph E) is the FBI's policy. And
19           I'm familiar with the policy, I've been trained on the
20          19 policy, and -- and as it's written in sub paragraph E),
21           I totally agree with.
22                 MR. FROMMER: Okay. All right. Okay.
23   Zellhart Dep., ECF 112-19, Frommer Decl. Ex. K at 871:3-20. Supplemental Rodgers
24    Decl. (Zellhart Depo.) Ex. A at 43:3-20.
25          Government’s Objections: Plaintiffs’ Fact mischaracterizes the testimony. Agent
26   Zellhart repeatedly testified that her understanding of the policy was as reflected in the
27   lengthy document itself. ECF 122-10 [Rodgers Decl. Ex. I at 309-327, an 18 page
28   document]. She did not state, as this Fact provides, that she understood that FBI policy

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 1   requires special agents to use the least intrusive investigative technique that is capable of
 2   achieving the FBI’s objective.
 3          In addition, the government objects that the written DIOG provides the best
 4   evidence of the terms of the policy. Fed. R. Evid. 1001 and 1002.
 5         6.      Plaintiffs’ Fact No. 42, which provides that “[w]hen Magistrate Kim signed
 6   the USPV seizure warrant in March 2021, he was unaware that the government had
 7   already determined that it would initiate forfeiture proceedings against the contents of
 8   the boxes.”
 9         Plaintiffs’ Supporting Evidence Cited For Fact: Warrant Application and
10   Supporting Affidavit, ECF 112-14, Ex. F at 501:15–502:7 & n.40; Murray 30(b)(6)
11   Dep., ECF 112-23, Ex. O at 1525:15-1526:5, 1526:9–1527:3, 1527:10–18, 1533:8–14,
12   1534:21–1535:12, 1537:14–16, 1560:2–15, 1562:1–17, 1563:16–1564:12; Zellhart
13   30(b)(6) Dep., ECF 112-21, Ex. M 1239: 3–18; Zellhart Dep., ECF 112-19, Ex. K at
14   985: 9–16.
15         Government’s Objections: Plaintiffs’ Fact (1) mischaracterizes the testimony,
16   none of which pertains to the state of knowledge of a federal magistrate judge; (2) lacks
17   foundation and lack of personal knowledge as to the knowledge of a federal magistrate
18   judge [Fed. R. Evid. 602]; (3) calls for speculation relative to the knowledge of a federal
19   magistrate judge; and (4) is irrelevant: the government went beyond its obligations to
20   ensure that the magistrate understood the warrants would result in an inventory, but that
21   in no way imposes on the government the further obligation to announce how later
22   actions, such as criminal investigations against boxholders or forfeiture of box contents,
23   would play out [Fed. R. Evid. 401 and 402]. The assignment of CATS ID numbers to
24   seized assets is meaningless, as this always occurs at the time of seizure. ECF 112-23,
25   Murray 30(b)(6) Dep., Frommer Decl. Ex. O at 1501:15-1502:6.
26         7.      Plaintiffs’ Fact No. 43, which provides that “[n]othing in the warrant
27   application or supporting affidavit advised Magistrate Kim that the government planned
28   to initiate forfeiture proceedings against any cash seized from the USPV boxes meeting

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 1   the minimum monetary threshold of $5,000 and for any valuables that looked like their
 2   value would meet the minimum monetary threshold.”
 3         Plaintiffs’ Supporting Evidence Cited For Fact: Warrant Application and
 4   Supporting Affidavit, ECF 112-14, Ex. F at 501:15–502:7 & n.40.
 5         Government’s Objections: Plaintiffs’ Fact is irrelevant as it lacks a tendency to
 6   prove any facts of consequence in this action: the government went beyond its
 7   obligations to ensure that the magistrate understood the warrants would result in an
 8   inventory, but that in no way imposes on the government the further obligation to
 9   announce how later actions, such as criminal investigations against boxholders or
10   forfeiture of box contents, would play out [Fed. R. Evid. 401 and 402].
11         8.     Plaintiffs’ Fact No. 44, which provides “The FBI’s Domestic Investigative
12   and Operations Guide states: ‘Whenever there is probable cause to believe an inventory
13   search would also yield items of evidence or contraband, agents must obtain a search
14   warrant when feasible.’ ”
15         Plaintiffs’ Supporting Evidence Cited For Fact: Frommer Decl., ECF 112-15, Ex.
16   G (“FBI DIOG”) at 527.
17         Government’s Objections: This Fact mischaracterizes the document, as it only
18   sets forth one sentence in the DIOG. The government has cited as its Fact No. 42
19   Section 18.6.12.1 of the DIOG in full.
20         9.     Plaintiffs’ Fact No. 46, which provides “[t]he government agreed that the
21   ‘Supplemental Instructions on Box Inventory’ served as the ‘operative policy’ that the
22   government used to guide agents’ behavior in executing the warrant, including
23   inventorying the contents of renters’ safe-deposit boxes.”
24         Plaintiffs’ Supporting Evidence Cited For Fact: Zellhart 30(b)(6) Dep., ECF 112-
25   21, Ex. M at 1215:3–9.
26         Government’s Objections: This Fact mischaracterizes the testimony and is vague
27   and ambiguous as to what the words “operative” policy means. Agent Zellhart
28   responded “correct” to a question which asked, “it sounds like the supplemental

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 1   instructions were sort of the operative policy, the policy that was in place on the ground
 2   that the agents who were doing the inventorying, they were supposed to follow that.”
 3   (Emphasis added). She also testified that she understood the policy as reflected in the
 4   DIOG, the supplemental inventory instructions comported with the DIOG and agents
 5   would search and inventory all boxes according to FBI policies and procedures. See
 6   Government Fact No. 32, citing Rodgers Decl. Ex. II at 559:7-560:17.
 7         10.    Plaintiffs’ Fact No. 47, which provides “Zellhart stated that, prior to her
 8   May 2022 deposition, the last time she had looked at the portion of the FBI’s Domestic
 9   Investigations and Operations Guide concerning inventory searches was ‘in the late
10   summer of 2020.’ ”
11         Plaintiffs’ Supporting Evidence Cited For Fact: Zellhart Dep., ECF 112-19, Ex. K
12   at 847:13–17
13         Government’s Objections: Plaintiffs’ Fact is irrelevant as it lacks a tendency to
14   prove any facts of consequence in this action. Fed. R. Evid. 491 and 402. She also
15   testified that she understood the policy as reflected in the DIOG, the supplemental
16   inventory instructions comported with the DIOG and agents would search and inventory
17   all boxes according to FBI policies and procedures. See Government Fact No. 32, citing
18   Rodgers Decl. Ex. II at 559:7-560:17.
19         11.    Plaintiffs’ Fact No. 50, which provides “Zellhart testified she could not
20   recall ever having conducted an inventory apart from the one at USPV.”
21         Plaintiffs’ Supporting Evidence Cited For Fact: Zellhart Dep., ECF 112-19, Ex. K
22   at 827:10–19; Zellhart 30(b)(6) Dep., ECF 112-21, Ex. M at 1220:7-12.
23         Government’s Objections: Plaintiffs’ Fact is irrelevant as it lacks a tendency to
24   prove any fact of consequence in this action. Fed. R. Evid. 401 and 402. As Zellhart has
25   stated, it does not matter whether she ever conducted an inventory search prior to USPV,
26   because the procedures are no different from when inventorying is conducted pursuant to
27   a search warrant or a consent search. The “bag and tag” procedures are identical. Agent
28   Zellhart’s extensive background, training and experience, as an employee of the FBI

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 1   since 2004, are set forth in the common affidavit submitted for the search warrant and
 2   the seizure warrant. ECF 122-40 at 601 [Zellhart Decl. ¶ 4].
 3         12.    Plaintiffs’ Fact No. 59, which provides “[t]he government testified that
 4   multiple local police departments who assisted with execution of the seizure warrant
 5   have submitted DAG-71 forms, which allow the federal government to ‘equitably share’
 6   forfeiture proceeds with local partners who assisted with the raid.”
 7         Plaintiffs’ Supporting Evidence Cited For Fact: Murray 30(b)(6) Dep., ECF 112-
 8   23, Ex. O at 1573:20–1574:2.
 9         Government’s Objections: Plaintiffs’ Fact is irrelevant as it lacks a tendency to
10   prove any fact of consequence in this action. Fed. R. Evid. 401 and 402. Plaintiff has
11   offered no evidence that the local police departments’ activities were influenced in any
12   manner by the fact that they could submit the forms that, if assets were forfeited and
13   equitable sharing approved, the local police departments could equitably share in
14   forfeited assets.
15         13.    Plaintiffs’ Fact No. 64, which provides “FBI Special Agent Justin
16   Palmerton, who helped inventory safe-deposit boxes at USPV, could not recall ever
17   receiving any training on how to conduct an inventory that was not incident to arrest.”
18         Plaintiffs’ Supporting Evidence Cited For Fact: Frommer Decl., ECF 112-18, Ex.
19   J (“Palmerton Dep.”) at 584:14-18, which testimony provides as follows:
20                So is it that you do not recall or
21          that -- is your answer that you haven't received
22          any continuing training on executing a warrant or
23          doing an inventory search?
24                A.     No, yeah, I just don't recall.
25         Government’s Objections: Plaintiffs’ Fact mischaracterizes the testimony. The
26   deponent stated that he could not recall receiving any continuing training on doing an
27   inventory search, and the testimony says nothing about inventorying incident to an arrest
28   as the Fact provides. Further, the fact that the deponent did not specifically recall any

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 1   training, does not mean the agent had no training. In addition, even if the agent had no
 2   training, that fact is irrelevant for the same reasons set forth above - - the “bag and tag”
 3   procedures for the inventorying here is the same as the procedures for inventorying items
 4   while executing a search warrant or doing a consent search. Fed. R. Evid. 401 and 402.
 5          14.    Plaintiffs’ Fact No. 71, which provides “Inspector Versoza testified that he
 6   viewed ‘the seizure warrant is just -- it's not the end of it, it's just another tool in our
 7   gathering of -- of evidence.’ ”
 8          Plaintiffs’ Supporting Evidence Cited For Fact: Versoza Dep., ECF 112-20, Ex. L
 9   at 1128:16-19. Plaintiffs have cited only three lines of testimony. The full testimony is
10   as follows:
11          I'm just trying to figure out, like, did you and
12          DEA and FBI ever sit down just to discuss the seizure
13          warrant and, like, what you wanted to have in the
14          seizure warrant?
15                 A.     We sat down and discussed during the phase of the
16          investigation the progress of the investigation.
17                 And you keep saying "seizure warrant," but really
18          we were seeking search warrants. But I guess it is
19          seizure and search warrant, to your point.
20                 So we have had discussions over, again, what was
21          sufficient, or what was needed in an investigation
22          generally, but I don't know how better to answer your
23          question. So we did have conversations, we had
24          discussions, and -- about the investigation. Most of
25          our conversation was about the investigation, and the
26          seizure warrant is just -- it's not the end of it, it's
27          just another tool in our gathering of -- of evidence.
28   ///

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 1   Versoza Dep., ECF 112-20, Ex. L at 1128:3-19. Supplemental Rodgers Decl. (Versoza
 2   Depo.) Ex. D at 65:3-19.
 3         Government’s Objections: Plaintiffs’ Fact mischaracterizes the testimony by
 4   suggesting the seizure warrant was to be used as a tool to gather evidence against
 5   boxholders. The full testimony shows Inspector Versoza is discussing the criminal
 6   investigation against USPV, the company. There was both a search warrant and a
 7   seizure warrant and executing those warrants would gather additional evidence in the
 8   USPV investigation. In addition, the Fact leaves off the beginning of the question, i.e.,
 9   “Most of our conversation was about the investigation” to make it appear the answer
10   pertains to something else entirely.
11         15.    Plaintiffs’ Fact No. 93, which provides “[i]n creating the inventory record
12   for one box, the government took dozens of close-up photographs of various personal
13   documents, including receipts and personal ledgers containing handwritten notes, pay
14   stubs, immigration paperwork, a marriage license, and bank statements.”
15         Plaintiffs’ Supporting Evidence Cited For Fact: Inventory Records, ECF 112-9,
16   Ex. A at 48-130.
17         Government’s Objections: Plaintiffs’ Fact is not a single fact but an accumulation
18   of multiple facts based on 182 pages of documents in Ex. A. While the Fact provides the
19   government took “dozens of close up photographs of various personal documents,”
20   Plaintiffs have not specifying where the documents at issue are situated, and many of the
21   documents are unrelated to the Fact. See, e.g., Ex. A 48-56. Still, other documents
22   within Exhibit A are untranslated documents, and are therefore not evidence.
23         16.    Plaintiffs’ Fact No. 120, which provides “[a]gents closely involved with the
24   investigation of US Private Vaults and seizure warrant execution testified that one of the
25   primary purposes for an inventory search is to protect agents from claims of theft or lost
26   property.”
27   ///
28   ///

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 1           Plaintiffs’ Supporting Evidence Cited For Fact: Palmerton Dep., ECF 112-18, Ex.
 2   J at 581:22-582:5; Zellhart 30(b)(6) Dep., ECF 112-21, Ex. M at 1215:19-1216:4;
 3   Frommer Decl., ECF 112-22, Ex. N, ECF 112-22 (“Carlson Dep.”), at 1343:25-1344:21.
 4           Government’s Objections: Plaintiffs’ Fact mischaracterizes the testimony.
 5   Agents testified that one of the purposes, not one of the primary purposes, of an
 6   inventory is to protect against claims of theft or loss. As agents testified, in the
 7   testimony immediately following Plaintiffs’ cited passages, inventorying has multiple
 8   purposes. Zellhart 30(b)(6) Dep., ECF 112-21, Frommer Decl. Ex. M at 1215:19-
 9   1216:8; Supplemental Rodgers Decl. (Zellhart 30(b)(6) Depo.) Ex. B at 48:19-49:8 (“A.
10   So the -- when you're doing the inventory, it's for several reasons. One, you're protecting
11   the property for the other person, keeping it safe, you're protecting the agents from
12   accusations of theft or damage, and you're protecting the agents, and whoever else, from
13   the possibility that you might run into hazardous materials, such as -- such as weapons
14   or, you know, unexploded hand grenades or Fentanyl or anthrax or whatever. So you're
15   -- so it's a protective prong”) (italicized portion omitted from plaintiffs’ cite); Carlson,
16   Dep. ECF 112-22 Ex N at 1344:22-1345:5; Supplemental Rodgers Decl. Ex. F at 78:22-
17    79:5 (“Q. Okay. So I have the three purposes then behind the inventory searches. It's
18    officer safety, to determine ownership, and to itemize the property to protect the
19    government or officers from claims of lost or stolen property; is that correct? A. Yes, to
20   the best of my recollection, yes”). Similarly, the cited Palmerton deposition testimony
21   does not support the Fact.
22           17.   Plaintiffs’ Fact No. 123, which provides “[a]fter completing its execution of
23   the seizure warrant, the government created a flyer directing box renters who wanted to
24   be reunited with their property to fill out a form with their contact information to the
25   FBI.”
26           Plaintiffs’ Supporting Evidence Cited For Fact: Zellhart Dep., ECF 112-19, Ex. K
27   at 969:16-23); Frommer Decl. ECF 112-16, Ex. H (“FBI Claim Form”).
28   ///

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 1         Government’s Objections: The Fact mischaracterizes the testimony. The
 2   testimony does not provide that the government created the form, sometime after the
 3   execution of the seizure warrant was completed. The testimony is silent on the timing of
 4   the creation of the claim form.
 5         18.     Plaintiffs’ Fact No. 144, which provides “USPV, the business, filed a
 6   judicial claim to all the box contents in its capacity as a bailee.”
 7         Plaintiffs’ Supporting Evidence Cited For Fact: See USPV Claim at
 8   https://usprivatevaults.com/ 210610_Forfeiture_Claim.pdf (last visited Aug 3, 2022).
 9         Government’s Objections: This Fact (1) mischaracterizes the documents, as
10   judicial claims are filed in judicial forfeiture actions; USPV’s claim is an administrative,
11   not a judicial claim; and (2) this fact is irrelevant and is of no legal consequence in this
12   action and, among other things, the claim is invalid because it was signed by an attorney,
13   not an officer of USPV [Fed. R. Evid. 401 and 402]. See 28 C.F.R. § 8.10(b)(3)
14   (administrative claim must be signed by claimant under oath, not claimant’s counsel).
15         19.     Plaintiffs’ Fact No. 146, which provides “USPV agreed to withdraw that
16   claim on behalf of its customers’ property as a condition of its criminal plea agreement.”
17         Plaintiffs’ Supporting Evidence Cited For Fact: United States v. U.S. Private
18   Vaults, Inc., No. 2:21-cr-00106-MCS, ECF No. 85, at 4-5 (Mar. 3, 2022) (plea
19   agreement).
20         Government’s Objections: This Fact (i) mischaracterizes the plea agreement; (2)
21   lacks foundation and is not based on personal knowledge [Fed. R. Evid. 602]: (3)
22   constitutes inadmissible hearsay [Fed. R. Evid. 801 and 802]; and (4) is irrelevant to any
23   fact of consequence in this lawsuit [Fed. R. Evid. 402] because, among other things (i)
24   the claim is invalid because it was signed by an attorney, not an officer of USPV [see 28
25   C.F.R. § 8.10(b)(3) (administrative claim must be signed by claimant under oath, not
26   claimant’s counsel)]; and (ii) USPV withdrew its claim on June 23, 2021, or long before
27   the plea agreement was entered (ECF 122-39 [Rodgers Decl. Ex. LL]) at 600.
28   ///

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 1         20.    Plaintiffs’ Fact No. 146, which provides “[o]n June 22, 2021, this Court
 2   held that the government’s forfeiture notices did not provide sufficient notice to property
 3   owners, and enjoined the government from forfeiting Travis’s, Joseph’s, or Jeni and
 4   Michael’s property based upon those notices.”
 5         Plaintiffs’ Supporting Evidence Cited For Fact: ECF 52 (TRO Order).
 6         Government’s Objections: This Fact is irrelevant to any fact of consequence in
 7   this lawsuit. Fed. R. Evid. 402. The only remaining claims in this lawsuit are Count I,
 8   the class claim alleging that the government’s March 22-26 inventory at USPV violated
 9   the Fourth Amendment and Count VII, the individual claim under Fed. R. Crim. P. Rule
10   41(g) for return of property for the seven individual plaintiffs. This fact has no bearing
11   on those claims.
12         21.    Plaintiffs’ Fact No. 150, which provides “[t]he government has since
13   returned Jeni and Michael’s silver and personal documents, but failed to return $2,000
14   cash Jeni and Michael maintain was stored inside their box at the time of the seizure.
15         Plaintiffs’ Supporting Evidence Cited For Fact: Storc Decl., ECF 112-6 at ¶¶ 16-
16   17.
17         Government’s Objections: Part of this Fact, namely these Plaintiffs’ contention
18   that the government failed to return $2,000, is irrelevant to any fact of consequence in
19   this lawsuit. Fed. R. Evid. 402. The government has declared under oath that it does not
20   have those funds. ECF 122-40 at 601 (Zellhart Decl. ¶ 2). Accordingly, these Plaintiffs’
21   individual claim under Fed. R. Crim. P. 41(g) cannot be maintained.
22         22.    Plaintiffs’ Fact No. 151, which provides“[o]n July 23, 2021, this Court
23   issued a preliminary injunction ordering the government to either return the contents of
24   the box Joseph rented from USPV or show cause ‘as to why the Government continues
25   to seize’ those contents.”
26         Plaintiffs’ Supporting Evidence Cited For Fact: ECF 60 (Order Granting
27   Preliminary Injunction) at 8.
28   ///

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 1         Government’s Objections: This Fact is irrelevant to any fact of consequence in
 2   this lawsuit. Fed. R. Evid. 402. The only remaining claims in this lawsuit are Count I,
 3   the class claim alleging that the government’s March 22-26 inventory at USPV violated
 4   the Fourth Amendment and Count VII, the individual claim under Fed. R. Crim. P. Rule
 5   41(g) for return of property for the seven individual plaintiffs. This fact has no bearing
 6   on those claims.
 7         23.    Plaintiffs’ Fact No. 156, which provides “DEA Special Agent Justin
 8   Carlson likewise testified to his ‘understanding’ that “boxes that arose to the suspicion of
 9   any criminal activity would be investigated before being returned.”
10         Plaintiffs’ Supporting Evidence Cited For Fact: Carlson Dep., ECF 112-22, Ex. N
11   at 1425:12-25, which provides as follows:
12                Q.    That's totally fair. I get that
13          you don't want to return contraband.
14          Let's put contraband to the side. When it
15          was cash, would the government conduct an
16          investigation into whether that cash was
17          drug proceeds before deciding that it was
18          necessary to turn that property back to
19          the person who was claiming it?
20                MR. COLL: Objection, vague,
21          lacks foundation.
22                A.    My understanding is that boxes
23          that arose to the suspicion of any
24          criminal activity would be investigated
25          before being returned.
26         Government’s Objections: Lack of Foundation and Personal Knowledge (Fed. R.
27   Evid. 602) – the deponent lacks personal knowledge of the matter, and a proper
28   foundation as to deponent’s personal knowledge has not been made. There is no

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 1   evidence that DEA Special Agent Carlson conducted any investigation himself, let alone
 2   that he has any knowledge of what type of investigation other agents or agencies
 3   performed.
 4         24.    Plaintiffs’ Fact No. 159, which provides “[p]er a government interrogatory
 5   response dated April 19, 2022, the government identified 389 unique USPV rented boxes
 6   (1) from which the government had seized property in March 2021, (2) for which the
 7   government knew the identity of the owner, and (3) for which the government had
 8   returned the seized contents. Several of these boxes had multiple listed owners.”
 9   (Emphasis added).
10         Plaintiffs’ Supporting Evidence Cited For Fact: Govt’s Supp. Response to Pls.’
11   Rog #9 at pp. 2-16).
12         Government’s Objections: The underscored portion of this Fact mischaracterizes
13   the interrogatory response and is irrelevant to any of the remaining claims in this lawsuit.
14   Interrogatory Number 9, and the government’s response thereto provide as follows:
15         INTERROGATORY NO. 9:
16                Identify all individuals who had property seized from the U.S. Private
17         Vaults facility in March 2021, whose identity is known to the FBI, and
18         whose property was subsequently returned. For each individual, state the
19         individual’s name and U.S. Private Vaults box number.
20         SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 9:
21         . . . In addition, the government notes that the identity of these individuals
22         is not necessarily “known” to the government (as requested by this
23         interrogatory and is therefore overbroad because the class is limited to
24         persons who have “identified themselves” to the government) as the
25         government can only provide its best estimate of the identity of these
26         persons based upon the information available to it from information
27         contained in their U.S. Private Vaults box or other communication with the
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 1         government, and U.S. Private Vaults had a business model that allowed
 2         boxholders to open boxes at the facility anonymously.
 3   The government has already advised in public filings that the instant lawsuit involves
 4   hundreds of boxes at USPV and, accordingly, Plaintiffs’ Fact, which falsely states that
 5   the government knows the identity of these owners as a fact, mischaracterizes the
 6   document and, in any event, is unnecessary to prove any fact of consequence as to the
 7   remaining claims in this action. Fed. R. Evid. 402.
 8         25.    Plaintiffs’ Fact No. 172, which provides “[a]gents have testified that, absent
 9   an order from this Court, the government will retain Plaintiffs’ and the broader class’
10   information on an FBI database called Sentinel, a computerized system that ‘provides
11   capabilities for search and intelligence analysis’ and that ‘can be used to identify
12   connections between cases and patterns of activity.’ ”
13         Plaintiffs’ Supporting Evidence Cited For Fact: FBI, Privacy Impact Assessment
14   for the SENTINEL System (2014), https://perma.cc/8D9W-YFC5
15         Government’s Objections: Plaintiffs’ Fact mischaracterizes the document at the
16   referenced website. No agents’ testimony in the instant case is reflected in the
17   document. In addition, the document is offered without any foundation or personal
18   knowledge, and the contents of the document are inadmissible hearsay. Fed. R. Evid.
19   602, 801 and 802. In addition, this testimony is irrelevant for the reasons set forth in the
20   objections below, namely, that the remaining claims in this case, as reflected in
21   Plaintiffs’ First Amended Complaint (“FAC”), do not provide for a remedy for which
22   this Fact would have any relevance. Fed. R. Evid. 402.
23   Facts Regarding Records Generated By Or As A Result Of The Inventory, Plaintiffs
24   Offer As A Prelude For Their Request That Records Be Segregated Or Destroyed
25         26.    Plaintiffs offer the following Fact Numbers regarding the records generated
26   by the government during the March 22-26, 2021 inventory and thereafter, to support
27   Plaintiffs’ claim that inventory records should be segregated or destroyed:
28   ///

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 1         Fact Nos. 162 (photographs of class members property), relying upon “See
 2   generally Inventory Records, ECF 112-9, Ex. A (broader class); see also id. at 32-43,
 3   145-152, 240-246, 247-256 (named plaintiffs)”; 163 (records regarding condition of
 4   class members’ property and drug dog sniffs), relying upon “See generally Inventory
 5   Records, ECF 112-9, Ex. A (broader class); see also id. at 148-149, 250, 254-56 (named
 6   plaintiffs)”; 164 (video recordings), relying on “See generally Inventory Videos, ECF
 7   112-10, Ex. B (broader class)”; and 165 (records regarding administrative claim to
 8   contest FBI’s administrative forfeiture proceedings submitted by plaintiffs Verdon-
 9   Pearsons and Storc), relying upon “Pearsons Decl., ECF 112-6, at ¶ 11; Storc Decl., ECF
10   112-5 at ¶ 10”.
11         Government’s Objections: The issue of the records generated by the government
12   or situated within the government’s computer systems is irrelevant to any fact of
13   consequence in this lawsuit. Fed. R. Evid. 402. Plaintiffs’ segregation/destruction of
14   document remedy is available only for Rule 41(g) claims and their FAC shows their
15   class claim is not, and plaintiffs’ Rule 41(g) individual claim does not seek the remedy.
16   ECF 78 (class certification order at 5:7-12, citing CDT) and ECF 33 (FAC ¶¶ 1, 2, 153
17   and 232 and ¶ L at 52:4-8). Also, plaintiffs seek the remedy for some universe of all
18   documents created “as a result of” the inventory, but their FAC only requests an
19   injunction as to “records created through the inventory documents,” meaning the
20   inventory documents alone. ECF 33 (FAC ¶ I at 51:1-3). Paragraphs 1 and 2 of
21   Plaintiffs’ FAC provide:
22                1.    Plaintiffs bring their class-action Fourth and Fifth Amendment
23         claims under the Administrative Procedure Act, 5 U.S.C. § 702, and the
24         Declaratory Judgments Act, 28 U.S.C. §§ 2201, 2202, as well as directly
25         under the U.S. Constitution. Plaintiffs seek declaratory and injunctive relief
26         against the government’s unconstitutional search, retention, and use of their
27         property.
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 1                2.     Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier,
 2         Jeni Verdon-Pearsons, Michael Storc, and Travis May bring their individual
 3         claims for return of seized property under Federal Rule of Criminal
 4         Procedure 41(g) and the Court’s inherent equitable power. They are
 5         entitled to the immediate return of their property as they are not targets of
 6         any criminal investigation and the government’s continued detention of
 7         their property both violates the Fourth Amendment and works a hardship on
 8         Plaintiffs.
 9   Paragraphs 153 and 232 of the FAC, together with the headings for Count I and
10   Count VII, provide as follows:
11                                       CLASS CLAIMS
12                        COUNT I: On Behalf Of The Proposed Class
13          Defendants’ Criminal Search of USPV Customers’ Personal Property
14                                 Violates the Fourth Amendment
15                             *                   *                    *
16                153. This Count seeks to vindicate the Fourth Amendment right of
17         every member of the Proposed Class to be free from unconstitutional
18         searches and seizures under the Fourth Amendment.
19                                     INDIVIDUAL CLAIM
20               COUNT VII: Claim for Return of Property Currently Held in
21                       Violation of the Fourth and Fifth Amendments
22                             *                   *                    *
23                232. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier,
24         Jeni Verdon-Pearsons, Michael Storc, and Travis May bring this claim for
25         return of seized property against Defendants under Federal Rule of Criminal
26         Procedure 41(g).
27   Plaintiffs’ prayer for relief on their Fed. R. Crim. P. 41(g) claim provides:
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 1                L.    Order Defendants to immediately return the seized property of
 2         Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
 3         Verdon-Pearsons, Michael Storc, and Travis May—without any conditions,
 4         delay, or investigation—under Federal Rule of Criminal Procedure 41(g)
 5         and the Court’s inherent equitable authority;
 6   Facts Regarding The Government’s Maintenance Of Documents In Its Computer System
 7   That Plaintiffs Request Be Segregated Or Destroyed
 8         27.    Plaintiffs offer the following Fact Numbers regarding the maintenance of
 9   documents in the government’s computer systems: Facts Nos. 172 (retention of
10   documents in Sentinel), relying upon “FBI, Privacy Impact Assessment for the
11   SENTINEL System (2014), https://perma.cc/8D9W-YFC5”; 173 (records in Sentinel),
12   relying upon “Palmerton Decl., ECF 112-18, Ex. J at 715:3-21, 717:23-718:22”; 174
13   (records in Sentinel), relying upon “Zellhart 30(b)(6) Dep., ECF 112-21, Ex. M at
14   1279:23-1280:3”; 175 (access by agents to Sentinel records), relying upon “Zellhart
15   30(b)(6) Dep., ECF 112-21, Ex. M at 1281:15-22; 1282:4-1283:17”; 176 (maintenance
16   of videos at DEA), relying upon “Carlson Dep. ECF 112-22, Ex. N at 1415:7-13”; 177
17   (maintenance of videos at DEA), relying upon “Carlson Dep. ECF 112-22, Ex. N at
18   1417:13-22”; and 178 (plaintiffs’ desire that documents be segregated or destroyed),
19   relying upon “P. Snitko Decl. ¶ 20; J. Snitko Decl. ¶ 19; Ruiz Decl. ¶ 22; Gothier Decl. ¶
20   13; May Decl. ¶ 21; Pearsons Decl. ¶ 23; Storc Decl. ¶ 21”.
21         Government’s Objections: The issue of the records generated by the government
22   or situated within the government’s computer systems is irrelevant to any fact of
23   consequence in this lawsuit. Fed. R. Evid. 402. Plaintiffs’ segregation/destruction of
24   document remedy is available only for Rule 41(g) claims and their FAC shows their
25   class claim is not, and plaintiffs’ Rule 41(g) individual claim does not seek the remedy.
26   ECF 78 (class certification order at 5:7-12, citing CDT) and ECF 33 (FAC ¶¶ 1, 2, 153
27   and 232 and ¶ L at 52:4-8). Also, plaintiffs seek the remedy for some universe of all
28   documents created “as a result of” the inventory (PB 12:15-18 at n.2), but their FAC

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 1   only requests an injunction as to “records created through the inventory documents,”
 2   meaning the inventory documents alone. ECF 33 (FAC ¶ I at 51:1-3). Paragraphs 1 and
 3   2 of Plaintiffs’ FAC provide:
 4                1.       Plaintiffs bring their class-action Fourth and Fifth Amendment
 5         claims under the Administrative Procedure Act, 5 U.S.C. § 702, and the
 6         Declaratory Judgments Act, 28 U.S.C. §§ 2201, 2202, as well as directly
 7         under the U.S. Constitution. Plaintiffs seek declaratory and injunctive relief
 8         against the government’s unconstitutional search, retention, and use of their
 9         property.
10                2.       Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier,
11         Jeni Verdon-Pearsons, Michael Storc, and Travis May bring their individual
12         claims for return of seized property under Federal Rule of Criminal
13         Procedure 41(g) and the Court’s inherent equitable power. They are
14         entitled to the immediate return of their property as they are not targets of
15         any criminal investigation and the government’s continued detention of
16         their property both violates the Fourth Amendment and works a hardship on
17         Plaintiffs.
18   Paragraphs 153 and 232, together with the headings for Count I and Count VII,
19   provide as follows:
20                                         CLASS CLAIMS
21                          COUNT I: On Behalf Of The Proposed Class
22          Defendants’ Criminal Search of USPV Customers’ Personal Property
23                                   Violates the Fourth Amendment
24                               *                   *                  *
25                153. This Count seeks to vindicate the Fourth Amendment right of
26         every member of the Proposed Class to be free from unconstitutional
27         searches and seizures under the Fourth Amendment.
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 1                                    INDIVIDUAL CLAIM
 2               COUNT VII: Claim for Return of Property Currently Held in
 3                       Violation of the Fourth and Fifth Amendments
 4                             *                   *                    *
 5                232. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier,
 6         Jeni Verdon-Pearsons, Michael Storc, and Travis May bring this claim for
 7         return of seized property against Defendants under Federal Rule of Criminal
 8         Procedure 41(g).
 9   Plaintiffs’ prayer for relief on their Fed. R. Crim. P. 41(g) claim provides:
10                L.     Order Defendants to immediately return the seized property of
11         Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
12         Verdon-Pearsons, Michael Storc, and Travis May—without any conditions,
13         delay, or investigation—under Federal Rule of Criminal Procedure 41(g)
14         and the Court’s inherent equitable authority;
15   Facts Regarding Videos and Records Situated In Government’s Files
16           28. Plaintiffs have offered the following Facts regarding videos and
17   photographs of items situated in the government’s files that were created during the
18   inventory: Fact Nos. 81-95 (photographs) and 96-101 and 164 (videos).
19         Government’s Objections: See preceding Objection. Plaintiffs’ FAC does
20   not seek the remedy upon which the relevance of these items are based.
21   Facts Regarding Plaintiffs’ Fear That The Government May Or Has Allegedly Used
22   Information To Investigate Them
23         29.    The individual Plaintiffs offer the following Fact Numbers regarding their
24   alleged fear that the government either has or may use information it obtained to
25   investigate them: Fact Nos. 167 (government may use information in databases to
26   investigate named plaintiffs, relying upon “See P. Snitko Decl. ¶¶ 19-20; J. Snitko Decl.
27   ¶¶ 18-19; Ruiz Decl. ¶¶ 21-22, Gothier Decl. ¶¶ 12-13; May Decl. ¶¶ 20-21; Pearsons
28   Decl. ¶¶ 21-23; Storc. Decl. ¶¶ 20-21”; 168 (fear of a cyberbreach), relying upon “See P.

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 1   Snitko Decl. ¶¶ 19-20; J. Snitko Decl. ¶¶ 18-19; Ruiz Decl. ¶¶ 21-22, Gothier Decl. ¶¶
 2   12-13; May Decl. ¶¶ 20-21; Pearsons Decl. ¶¶ 21-23; Storc. Decl. ¶¶ 20-21”; 169
 3   (alleged prior investigation of plaintiff Ruiz), relying upon “See Zellhart Decl., ECF 64-
 4   1; see also Ruiz Decl. ¶¶ 15-17”; and 170 (named plaintiffs allege unwarranted invasion
 5   of privacy causes emotional distress), relying upon “P. Snitko Decl. ¶ 17, 19; J. Snitko
 6   Decl. ¶ 16, 18; Ruiz Decl. ¶ 21; Gothier Decl. ¶ 12; May Decl. ¶ 20; Pearsons Decl. ¶ 21-
 7   22; Storc Decl. ¶ 20”.
 8         Government’s Objections: The issue of individual Plaintiffs’ fear of future
 9   investigations or cyberbreaches is irrelevant to any fact of consequence in this lawsuit.
10   Fed. R. Evid. 402. Individual Plaintiffs’ Fed. R. Crim. P. 41(g) individual claim in
11   Count VII does not seek any remedy, other than the return of property. The property has
12   been returned, as individual Plaintiffs admit (and is a prerequisite for class membership).
13   Thus, their Facts are irrelevant. Paragraphs 1 and 2 of Plaintiffs’ FAC provide:
14                1.     Plaintiffs bring their class-action Fourth and Fifth Amendment
15         claims under the Administrative Procedure Act, 5 U.S.C. § 702, and the
16         Declaratory Judgments Act, 28 U.S.C. §§ 2201, 2202, as well as directly
17         under the U.S. Constitution. Plaintiffs seek declaratory and injunctive relief
18         against the government’s unconstitutional search, retention, and use of their
19         property.
20                2.     Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier,
21         Jeni Verdon-Pearsons, Michael Storc, and Travis May bring their individual
22         claims for return of seized property under Federal Rule of Criminal
23         Procedure 41(g) and the Court’s inherent equitable power. They are
24         entitled to the immediate return of their property as they are not targets of
25         any criminal investigation and the government’s continued detention of
26         their property both violates the Fourth Amendment and works a hardship on
27         Plaintiffs.
28

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 1   Paragraphs 153 and 232, together with the headings for Count I and Count VII,
 2   provide as follows:
 3                                         CLASS CLAIMS
 4                          COUNT I: On Behalf Of The Proposed Class
 5          Defendants’ Criminal Search of USPV Customers’ Personal Property
 6                                   Violates the Fourth Amendment
 7                               *                  *                   *
 8                153. This Count seeks to vindicate the Fourth Amendment right of
 9         every member of the Proposed Class to be free from unconstitutional
10         searches and seizures under the Fourth Amendment.
11                                       INDIVIDUAL CLAIM
12               COUNT VII: Claim for Return of Property Currently Held in
13                         Violation of the Fourth and Fifth Amendments
14                               *                  *                   *
15                232. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier,
16         Jeni Verdon-Pearsons, Michael Storc, and Travis May bring this claim for
17         return of seized property against Defendants under Federal Rule of Criminal
18         Procedure 41(g).
19   Plaintiffs’ prayer for relief on their Fed. R. Crim. P. 41(g) claim provides:
20                L.       Order Defendants to immediately return the seized property of
21         Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
22         Verdon-Pearsons, Michael Storc, and Travis May—without any conditions,
23         delay, or investigation—under Federal Rule of Criminal Procedure 41(g)
24         and the Court’s inherent equitable authority;
25   Facts Regarding Plaintiffs’ Submissions Of Requests For Return Of Property Through
26   The FBI Website Portal
27         30.    Plaintiffs offer the following Fact Numbers regarding their submission of
28   requests for the return of property, after the inventorying had concluded on March 26,

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 1   2022, through the FBI website portal: Fact Nos. 126 (Paul and Jennifer Snitko, relying
 2   upon ECF 112-2 at ¶ 9); 129 (Gothier, relying upon ECF 112-3 at ¶ 7); 135 (Ruiz,
 3   relying upon ECF 112-4 at ¶¶ 8-9); 137 (May, relying upon ECF 112-7 at ¶ 6); and 139
 4   (Verdon-Pearsons and Storc, relying upon ECF 112-6 at ¶ 4).
 5         Government’s Objections: The Facts and the supporting paragraphs of the
 6   declarations are irrelevant as they do not prove a fact of consequence in this case. Fed.
 7   R. Evid. 402. Whether persons submitted a request for return of property through the
 8   FBI portal has nothing to do with whether agents’ execution of the warrants constituted a
 9   violation of the Fourth Amendment, plaintiffs only remaining class claim (Count I), nor
10   does it have to do with Plaintiffs’ individual claim (Count VII) in this case as their
11   property has already been returned.
12   Facts Regarding The Return Of Property To Plaintiffs And Other Boxholders
13         31.    Plaintiffs offer the following Fact Numbers and supporting evidence
14   regarding offers to return property to the named plaintiffs, the return of property to the
15   named plaintiffs, and the return of property to other boxholders, including anonymous
16   boxholders who are not even members of the class: Fact Nos. 127 (J. Snitko, ECF 112-2
17   at ¶ 12); 130 (Gothier, ECF 112-3 at ¶ 8); 147 (May, ECF 112-7 at ¶ 12); 149 (Verdon-
18   Pearsons and Storc, ECF 68-1 at ¶ 3); 152 and 157 (Ruiz, ECF 64 [osc re preliminary
19   injunction] and ECF 64-1 [Zellhart Decl.]); 161 (all box returns, including those for
20   anonymous non-class member boxholders, ECF 112-21 at 1268:4-13, 1271:9-13),
21         Government’s Objections: These Facts and Plaintiffs’ supporting evidence are not
22   relevant as they do not prove a matter of consequence in this case. Fed. R. Evid. 402.
23   There is no personal knowledge or foundation laid as to the reasons for the return of the
24   property, other than speculation and innuendo. Fed. R. Evid. 602. First, these Facts
25   have nothing to do with the remaining claims in this lawsuit. In addition, no evidence is
26   offered as to the reasons for the returns. Upon receipt of a claim, the administrative
27   agency must suspend the administrative forfeiture proceedings and refer the matter to the
28   USAO, so the USAO can decide whether to file a judicial action against the assets. 28

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 1   C.F.R. § 8.10(e). If the USAO fails to do so within 90 days after the agency receives the
 2   claim, the government must “promptly release” the property. 18 U.S.C. § 983(a)(3)(A) &
 3   (B). While probable cause is the standard for initiating administrative forfeiture
 4   proceedings, in any judicial action filed the government must show that the property is
 5   subject to forfeiture by a preponderance of the evidence (i.e., a higher standard). 18
 6   U.S.C. § 983(c)(1). Thus, the mere fact that property was returned does not establish the
 7   reason property was returned. Second, while plaintiffs cite earlier preliminary injunction
 8   rulings, those rulings are not germane to establishing whether the government’s
 9   inventorying between March 22 and 26, 2021 violated the Fourth Amendment, based on
10   the sole remaining class claim (Count I) in this case, nor does it have any bearing on
11   their individual claim (Count VII).
12   Facts Regarding Plaintiffs Discussions With Law Enforcement At USPV
13         32.    Plaintiffs offer the following Fact Numbers regarding their discussions with
14   law enforcement officers during the inventory and their receipt of communications from
15   law enforcement officers: Fact Nos. 131 (Gothier, relying upon ECF 112-3 at ¶ 8); and
16   133 and 134 (Ruiz, relying upon ECF 112-3 at ¶ 8).
17         Government Objections: These facts are not relevant as they do not prove a matter
18   of consequence in this case. Fed. R. Evid. 402. The remaining claims do not have
19   anything to do with this matter. Individual plaintiff Gothier’s discussions with law
20   enforcement during the inventory have nothing to do with Plaintiffs’ remaining two
21   claims.
22   Facts Regarding Executor Notification Letters
23         33.    Plaintiffs offer the following Fact Numbers regarding agents continuing to
24   inventory the contents of boxes after finding executor notification letters: Fact Nos. 78
25   and 79.
26         Government’s Objections: These Facts are not relevant as they do not prove a
27   matter of consequence in this case. Fed. R. Evid. 402. Agency policy required agents to
28   ///

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 1   inventory all contents of a box, regardless of whether they found an executor notification
 2   letter in a box.
 3   Fact Plaintiffs Improperly Offer In Response To The Government’s Facts
 4          34.    As set forth on page 1 above, Plaintiffs have improperly offered argument
 5   and new facts in response to the government’s 60 facts. As to two of those facts, the
 6   government asserts objections to Plaintiffs’ response. The Facts are Government Fact
 7   No. 43 and 44, and Plaintiffs’ response deals with the use of a key by the government to
 8   verify ownership of a box. In the response, Plaintiffs provide as follows: “Indeed,
 9   agents noted that, in returning property, they have typically used the renter’s key to
10   verify ownership, thereby showing there was no need to continue further. (Palmerton
11   Dep., ECF 112-18, Ex. J at 723:24-24:2 (agreeing that ‘having the key was an important
12   part of getting property back’)”.
13          Government’s Objections: This testimony is irrelevant as it does not prove a
14   matter of consequence in this action. Fed. R. Evid. 402. Plaintiffs are apparently
15   offering this testimony to show or compare agents actions during the March 22-26, 2021
16   inventorying, with actions agents took, sometimes over one year later, to return property,
17   including property of anonymous box holders for whom there was no other manner to
18   identify them. In addition, unlike the inventory where there was no legal obligation to
19   return property, if an administrative claim to contest the administrative forfeiture of the
20   property was submitted, the government is required by law to promptly release the
21   property claimed if a judicial forfeiture action is not filed within 90 days after the
22   administrative claim is received by the administrative agency. 18 U.S.C. § 983(a)(3)(A)
23   & (B). Thus, returning property has nothing to do with the requirements and procedures
24   for inventorying property.
25          Furthermore, Plaintiffs’ Fact is a complete misrepresentation of the testimony, as
26   the agent did not testify that he (or any other officers) “typically” used the renter’s key to
27   verify ownership which, according to plaintiffs, purportedly showed there was no need
28   to inventory further. The testimony, with the italicized section below reflecting what

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 1   Plaintiffs have omitted, reflects the misrepresentation, as the agent testified that he only
 2   returned “a couple of boxes” and that he used a key coupled with other identifying
 3   information (such as matching a driver’s license found in the box with the identity of the
 4   person claiming to own the box) before box contents were returned:
 5                Now, I'm hoping -- were you involved in
 6          the returning property to these folks?
 7                A.     I did return a couple of boxes.
 8                Q.     Okay. You returned a couple of boxes?
 9                A.     Yes.
10                *                   *                       *
11                Q.     Can you tell me, how did you verify that
12         the -- that you were giving the box to somebody
13         who was entitled to have the contents of the box?
14                A.     I want to say for my boxes, I looked at
15         the FD-302, if there was, like, any identifying
16         info in there, you would note it.
17         And then the attorney -- in the instances
18         I returned it, there was an attorney representing
19          the box holder. The attorney was bringing a key
20          as well as copies of the -- some type of
21          identification, usually a driver's license that
22          matched identifying information we had in the box.
23          And then we tested the key to make sure
24          it worked, and then we returned the items
25          back -- in my case, back to the attorney.
26                Q.     So in both of your instances, was it an
27          attorney who was identifying his or her client?
28                A.     Yes.

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 1               Q.      Were there instances where there might be
 2          an attorney but they didn't want to reveal the
 3          name of their client who came to pick up property?
 4               A.      Not that I recall.
 5                Q.     So it sounds like the key, having the key
 6          was an important part of getting property back; is
 7         that right?
 8               A.      Yes.
 9   Palmerton Dep., ECF 112-18, Ex. J at 722:6-724:2; Suppl. Rodgers Dec. (Palmerton
10   Dep.), Ex. E at 71:6-73:2.
11   Dated: August 16, 2022                        Respectfully submitted,
12                                                 STEPHANIE S. CHRISTENSEN
                                                   Acting United States Attorney
13                                                 SCOTT M. GARRINGER
                                                   Assistant United States Attorney
14                                                 Chief, Criminal Division
15                                                       /s/             ______________
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17                                                 Assistant United States Attorneys
18                                                 Attorneys for Defendants
                                                   UNITED STATES OF AMERICA and
19                                                 TRACY L. WILKISON and KRISTI
                                                   KOONS JOHNSON IN THEIR OFFICIAL
20                                                 CAPACITY ONLY
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